941 F.2d 1207
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.MICHAEL W. OWENS, Plaintiff-Appellant,v.E. C. MORRIS;  W. P. ROGERS;  B. SOLES;  D. K. SMITH;  M. A.SHUPE;  M. BROWN, Defendants-Appellees.
    No. 91-6588.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 26, 1991Decided:  August 27, 1991
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-90-706-R)
      Michael W. Owens, Appellant Pro Se.
      Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      Before WIDENER, MURNAGHAN, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Michael W. Owens appeals from the district court's order denying relief under 42 U.S.C. § 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Owens v. Morris, CA-90-706-R (W.D. Va.  May 14, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    